                             Case 2:14-cr-00517-GAM Document 113 Filed 12/07/16 Page 1 of 6


 AO 24SB (Rev. 02/16) Judgment in a Criminal Case
          Sheet l



                                           UNITED STATES DISTRICT COURT
                                         Eastern District of Pennsylvania
                                                        )
                UNITED STATES OF AMERICA                )     JUDGMENT IN A CRIMINAL CASE
                           v.                           )
                                                        )
                                                        )     Case Number: DPAE2: 14CR00517-003
                     STEVEN MILLER                      )     USM Number:  71680-066
                                                                               )
                                                                               )      Richard Freeman, Esq.
                                                                               )      Defendant's Attorney
 THE DEFENDANT:
 i:gJi pleaded guilty to count(s)     6, 8, 13, 14, and 15 of the Second Superseding Indictment.
 D pleaded nolo contendere to count(s)
     which was accepted by the court.
 D was found guilty on count(s)
     after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

 Title & Section                    Nature of Offense                                                         Offense Ended        Count
 21:843(b)                          Unlawful use of communication in furtherance of a drug felony              3/25/2014         6ss and 15ss
 21:841(a)(l), (b)(l)(C)            Possession with the intent to distribute cocaine                           3/25/2014         8ss and 13ss
 21:860(a)                          Distribution of cocaine within a 1,000 feet of a school                    3/25/2014             14ss



        The defendant is sentenced as provided in pages 2 through            - -6- - of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 D Count(s)                                                  Dis      D    are dismissed on the motion of the United States.

           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
 residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
 pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

C.t.     Ro~+ Ec~-r-,                           A\.A5A                       12/6/2016
                                                                            Date of Imposition of Judgment

          /J.-n-dv--~ OJ h ~ t l; p£; /JA.A,SJ.I
          ~lc~rd ~~,                                /Je;f.   Covi-"1-~~{    Signature of Judge


          U. )_ /Ylt?W-s ~~I { J)
                                                                            Gerald Austin McHugh, United States District Judge
                             IV/~; occo 1 IAS po ( J.)                      Name and Title of Judge


         fre,..-J-y.:01.-l     5~ v1«~.e... 5
                                                                            Date
         J; L IA
        F~s~f
                            Case 2:14-cr-00517-GAM Document 113 Filed 12/07/16 Page 2 of 6

AO 2458 (Rev. 02116) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                          Judgment-Page     2   of   6
 DEFENDANT:                    STEVEN MILLER
 CASE NUMBER:                  DPAE2:14CR00517-003


                                                               IMPRISONMENT
         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:
27 months on Counts 6ss, 8ss, 13ss, 14ss, and 15ss, such terms to run concurrently.




    D     The court makes the following recommendations to the Bureau of Prisons:




    D     The defendant is remanded to the custody of the United States Marshal.

    [gJ   The defendant shall surrender to the United States Marshal for this district:

          [gJ   at                 2:00            D   a.m.     IZI   p.m.        on           January 23, 2017

          L     as notified by the United States Marshal.

    D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D     before 2 p.m. on
          D     as notified by the United States Marshal.
          D     as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL




                                                                             By
                                                                                                DEPUTY UNITED STATES MARSHAL
                             Case 2:14-cr-00517-GAM Document 113 Filed 12/07/16 Page 3 of 6

AO 2458 (Rev. 02/16) Judgment in a Criminal Case
        Sheet 3 - Supervised Release

                                                                                                                    Judgment-Page             3    of       6
 DEFENDANT:                    STEVEN MILLER
 CASE NUMBER:                  DPAE2: 14CR00517-003

                                                              SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
  l year on each of Counts 6ss and l5ss, a term of 3 years on each of Counts 8ss and l3ss, and a term of 6 years on Count 14ss, such terms to
 run concurrently.
          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of
 the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed by the
D       probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or was convicted
        of a qualifying offense. (Check, if applicable.)

D       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   l)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or any
         paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
         granted permission to do so by the probation officer;
 l 0)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
         court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
         such notification requirement.
                           Case 2:14-cr-00517-GAM Document 113 Filed 12/07/16 Page 4 of 6

AO 245B (Rev. 02/16) Judgment in a Criminal Case
        Sheet JC - Supervised Release

                                                                                                      Judgment-Page   -~4_ _      of        6
DEFENDANT:                  STEVEN MILLER
CASE NUMBER:                DPAE2:14CR00517-003

                                           SPECIAL CONDITIONS OF SUPERVISION
The defendant shall refrain from the illegal possession and/or use of drugs and shall submit to urinalysis or other forms of testing to ensure
compliance. It is further ordered that the defendant shall participate in drug treatment and abide by the rules of any such program until
satisfactorily discharged.

The defendant shall refrain from the use of alcohol and shall submit to testing to ensure compliance. It is further ordered that the defendant
shall participate on alcohol treatment and abide by the rules of any such program until satisfactorily discharged.

The defendant is prohibited from incurring any new credit charges or opening additional lines of credit without the approval of the probation
officer.

The defendant shall provide the U.S. Probation Office with full disclosure of his financial records to include yearly income tax returns upon
the request of the U.S. Probation Office. The defendant shall cooperate with the probation officer in the investigation of his financial dealings
and shall provide truthful monthly statements of his income.
                            Case 2:14-cr-00517-GAM Document 113 Filed 12/07/16 Page 5 of 6

AO 2458 (Rev. 02116) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment - Page -----'-5_ _ of _ _6_ __
 DEFENDANT:                         STEVEN MILLER
 CASE NUMBER:                       DP AE2: l 4CR005 l 7-003

                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                       Fine                             Restitution
 TOTALS             $ 500.00                                          $ 0.00                            $ 0.00

D     The determination ofrestitution is deferred until
                                                        ----
                                                             .An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Pavee                                  Total Loss*                      Restitution Ordered                   Priority or Percentage




TOTALS                                $                                     $
                                          ----------                            ----------
D     Restitution amount ordered pursuant to plea agreement $
                                                                       ---------~




D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D    the interest requirement is waived for the         D fine D restitution.
      D    the interest requirement for the        D   fine    D restitution is modified as follows:
* Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
after Sentember 13. 1994. but before Anril 23. 1996.
                            Case 2:14-cr-00517-GAM Document 113 Filed 12/07/16 Page 6 of 6
AO 2458 (Rev. 02/16) Judgment in a Criminal Case
        Sheet 6 - Sche-Oule of Payments

                                                                                                               Judgment -   Page _ ___:_6__ of           6
DEFE1\TDAt'J"T:              STEVEN MILLER
CASE NUMBER:                 DPAE2: l 4CR005 l 7-003

                                                        SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      ig) Lump sum payment of$ _50_0_.0_0_ _ __ due immediately, balance due

            D     not later than                                     , or
            D     in accordance          DC, DD,                D     E,or        D      Fbelow; or
B     D     Payment to begin immediately (may be combined with               D    C, ·     D   D,      D    F below); or
c     D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or
D     D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or
E     D     Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
